USCA4 Appeal: 23-1235    Doc: 1          Filed: 03/06/2023   Pg: 1 of 1


                                                                      FILED: March 6, 2023

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                         ___________________

                                              No. 23-1235
                                          (8:22-cv-00487-GJH)
                                         ___________________

        RANDY RICHARDSON

                     Plaintiff - Appellant

        v.

        PRINCE GEORGE'S COUNTY; ANGELA ALSOBROOKS; MELINDA
        BOLLING

                     Defendants - Appellees


        This case has been opened on appeal.

        Originating Court                          United States District Court for the
                                                   District of Maryland at Greenbelt
        Originating Case Number                    8:22-cv-00487-GJH
        Date notice of appeal filed in             02/28/2023
        originating court:
        Appellant(s)                               Randy Richardson
        Appellate Case Number                      23-1235
        Case Manager                               Rickie Edwards
                                                   804-916-2702
